REED SMITH LLP
A limited liability partnership formed in the State of Delaware

oO a NN HD Nn B&B

10
11
12
13

14

15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:17-cv-02175-JAM-DB Document 23 Filed 03/12/18 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION
MOZAFAR HENDESSI, No: 17-cv-02175-JAM-DB
Plaintiff, EY
[ ] ORDER GRANTING-IN-
Vv. PART AND DENYING-IN-PART
DEFENDANT CLEAR CHANNEL OUTDOOR,
CLEAR CHANNEL OUTDOOR, INC.; and INC.’S MOTION FOR JUDGMENT ON
DOES 1 through 25, Inclusive, THE PLEADINGS
Defendants.

 

 

 

Case No. 17-cv-02175-JAM-DB
[PROPOSED] ORDER GRANTING-IN-PART AND DENYING-IN-PART DEFENDANT'S MOTION FOR
JUDGMENT ON THE PLEADINGS

 
REED SMITH LLP

A limited liability partnership formed in the State of Delaware

oO eH NN DH ADA F&F WY NO —

NH NO NO NO NO NO NO NN NQF RFR ORR OO ROO Re eee ee
oo NY DBD A FF WH NY KF 3D DOD FHF A KD A FP Ww NY KH OB

 

Case 2:17-cv-02175-JAM-DB Document 23 Filed 03/12/18 Page 2 of 3

A hearing on Defendant Clear Channel, Outdoor, Inc.'s (“Clear
Channel”) Motion for Judgment on the Pleadings was held on February
27, 2018. Alla Vorobets appeared and argued for Plaintiff Mozafar
Hendessi (“Hendessi”). James Daire appeared and argued for Clear
Channel. After consideration of the arguments made during the
hearing and all papers filed in support of and in opposition to,
the Court hereby GRANTS-IN-PART and DENIES-IN-PART Clear Channel’s
motion as follows.

Judgment on the pleadings is appropriate after the pleadings
have closed when, on the face of those pleadings, accepting the
allegations of the non-moving party as true, no material issue of
fact remains to be resolved. See Fed.R.Civ.P. 12(c); Hal Roach
Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542, 1550
(9th Cir. 1990). Under those circumstances, the moving party can
obtain judgment as a matter of law. See Hal Roach Studios, 896
F.2d at 1550. An action for breach of contract is ripe for
resolution at the pleading stage when the meaning of the contract
is clear. “Resolution of contractual claims on a motion to dismiss
is proper if the terms of the contract are unambiguous.” HSBC Bank
USA, Nat. Ass'n v. Dara Petroleum, Inc., 2010 WL 2197525, at *2-3
(E.D. Cal. May 28, 2010) (citing Monaco v. Bear Stearns Residential
Mortgage Corp., 554 F.Supp.2d 1034, 1040 (C.D. Cal. 2008)).

In this case, the Court finds the lease at issue is express,
clear, and succinct. The lease states: “[Clear Channel] shall have
the right to terminate the agreement at the end of any sixty day
period upon written notice to [Hendessi], served not less than
sixty days before the end of such sixty day period.” DN 1

(Complaint) Ex. B. The Court finds that this provision is

Case No. 17-cv-02175-JAM-DB - 1 -
[PROPOSED] ORDER GRANTING-IN-PART AND DENYING-IN-PART DEFENDANT’S MOTION FOR
JUDGMENT ON THE PLEADINGS

 
REED SMITH LLP

A limited liability partnership formed in the State of Delaware

nA & Wo NV

oOo S&S “SN DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-02175-JAM-DB Document 23 Filed 03/12/18 Page 3 of 3

unambiguous and that it permits Clear Channel to terminate the
lease at the end of any 60 day period upon written notice to
Hendessi, served not less than 60 days before the end of such 60
day period.

Accepting the allegations in Hendessi’s Complaint as true, on
January 18, 2017, Clear Channel “purported to terminate” the lease
“effective March 31, 2017,” removed its billboard, and “timely paid
monthly rent to HENDESSI up to and including March, 2017." DN 1
(Complaint) 4 23, 24, 28.

Since the Court finds that Clear Channel had the right to
terminate the lease and remove its sign, the Court hereby awards
judgment on the pleadings in favor of Clear Channel with one
exception. For purposes of Clear Channel’s motion, the Court
assumes that the lease automatically renewed effective November 1,
2015. Hendessi is therefore entitled to pursue his claims that
Clear Channel breached the contract and the implied covenant of
good faith and fair dealing by failing to pay Hendessi an annual
rent increase of three percent beginning November 1, 2015, to the
effective date of termination on March 31, 2017. In all other
respects, Clear Channel’s Motion for Judgment on the Pleadings is

granted.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED.

fu Mend;

bh. John A. Mendez

pateo: 3:/2-26/F

Case No. 17-cv-02175-JAM-DB -~ 2 -
[PROPOSED] ORDER GRANTING-IN-PART AND DENYING-IN-PART DEFENDANT'S MOTION FOR
JUDGMENT ON THE PLEADINGS

 
